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 4
     Attorneys for Plaintiff,
 5   CORRISSA AURORA PEREZ
 6

 7                       IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                         WESTERN DIVISION
10

11
     CORRISSA AURORA PEREZ                                    Case No. 2:20-CV-00400-AS
              Plaintiff,
12

13   v.                                                       [proposed] ORDER FOR AWARD OF
                                                              ATTORNEY FEES UNDER THE
14
     ANDREW SAUL,                                             EQUAL ACCESS TO JUSTICE ACT
15   Commissioner of Social Security                          (EAJA)
16
                    Defendant.                                Judge: Honorable Alka Sagar
17

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19            Based upon the parties’ Stipulation for Award of Attorney Fees under The
20   Equal Access to Justice Act (EAJA), IT IS ORDERED that attorney fees be paid to
21   Patricia L. McCabe, Counsel for Plaintiff, in the amount of $2,429.55, pursuant to
22   28 U.S.C. § 2412(d), subject to the terms of the above-referenced Stipulation.
23

24          October 2, 2020
     Date: ___________________                                / s / Sagar
                                                       _______________________________
                                                       Honorable Alka Sagar
25
                                                       United States Magistrate Judge
26

27

28



                     [proposed] Order For Award Of Attorney Fees Under The Equal Access To Justice Act (EAJA)
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